Case 3:17-cv-00072-NKM-JCH Document 758 Filed 06/08/20 Page 1lof4 Pageid#: 11230

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

Charlottesville Division
ELIZABETH SINES, et al.,
Plaintiffs,
vs. Case No. 3:17-cv-00072-NKM
JASON KESSLER, et al.,
Defendants.

NOTICE RE MOTION FOR LEAVE TO WITHDRAW
AS COUNSEL FOR DEFENDANT RICHARD B. SPENCER

PLEASE TAKE NOTICE that, pursuant to the Court’s Order of
June 4, 2020, the undersigned hereby requests that the Court
cause the Clerk of Court to return to him the Memorandum in
Support of Motion to Withdraw and to Conduct Ex Parte or Closed
Hearing (ECF No. 751).

The undersigned will respond to the Court’s queries at the
oral hearing scheduled for June 11, 2020.

Respectfully submitted,

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Case 3:17-cv-00072-NKM-JCH Document 758 Filed 06/08/20 Page 2of4 Pageid#: 11231

CERTIFICATE OF SERVICE
I hereby certify that, on June 8, 2020, I filed the
foregoing Notice with the Clerk of Court through the CM/ECF
system, which will send a notice of electronic filing to all
counsel of record, including the following:
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Case 3:17-cv-00072-NKM-JCH Document 758 Filed 06/08/20 Page 3o0f4 Pageid#: 11232

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I further certify, that on May 15, 2020, I also served the

following non-ECF participants, by electronic mail, as follows:

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Case 3:17-cv-00072-NKM-JCH Document 758 Filed 06/08/20 Page 4of4 Pageid#: 11233

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